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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
MITCHELL SCHWARZWALDER,
Plaintiff,
vs. Case No. 8:17-cv-'702-'I`-27JSS
CAVALRY PORTFOLIO SERVICES, LLC,

Defendant.

ORDER

The Court has been advised that this action has been Settled (Dkt. 8). Accordingly, pursuant
to Local Rule 3.08(b), M.D. Fla. this cause is DISMISSED Without prejudice and subject to the right
of the parties, within sixty (60) days of the date of this order, to submit a stipulated form of final
order or judgment should they so choose or for any party to move to reopen the action, upon good
cause shown After that sixty (60) day period, however, dismissal shall be With prejudice All
pending motions, if any, are DENIED as moot. The Order to Show Cause (Dkt. 7) is
DISCHARGED. The Clerk is directed to CLOSE the file.

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DONE AND ORDERED this f l day of May, 2017.

  
 

S D. WHITTEMORE
ted States District Judge
Copies to:

Counsel of Record

